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                                                                 U. S. DI           COURT
                                                                     S           A H DIV.
                IN THE UNITED STATES DISTRICT COURT
                                                                2016M1G30 AM 9:18
                FOR THE SOUTHERN DISTRICT OF GEORGIA

                            SAVANNAH DIVISION
                                                               CL ER         AW
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                                                                       SO. DIS19yGA. !


THE UNITED STATES OF AMERICA,

               Plaintiff,

                V.                           4:16CR224-08

FELISHA DAWN BYRD,

               Defendant.



                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.



     SO ORDERED, this             day of August, 2016.




                                UNITED STAT MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
